    Case 3:15-cr-00061-HDM-BNW              Document 69        Filed 08/28/15      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA


UNITED STATES OF AMERICA,           )                 3:15-cr-00061-HDM-WGC
                                    )
                  Plaintiff,        )                 ORDER REGARDING DETENTION
                                    )                    AS TO ALEXIS PATTON
        vs.                         )
                                    )
ALEXIS PATTON,                      )
                                    )
                  Defendant.        )
___________________________________ )


       In view of information the court received this morning from Pretrial Services concerning

the inability of New Frontier to accept defendant at this time, and certain issues regarding the

Washoe County warrant, the court STAYS its order releasing defendant Alexis Patton from

detention. The court will schedule a subsequent detention hearing in this matter as soon as the

calendars of the court and counsel for the defendant will permit.

       IT IS SO ORDERED.

       DATED: August 28, 2015.

                                              ____________________________________
                                              WILLIAM G. COBB
                                              UNITED STATES MAGISTRATE JUDGE
